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IN THE UNITED STATES DISTRICT COURT

 

FOR THE NORTHERN DISTRICT OF TEXAS POSE he
DALLAS DIVISION OOP 2: tg
“UTv ore, YW
UNITED STATES OF AMERICA “tt ox Yo_
NO.

Vv.

MATTHEW ALAN RUSHING 3-19CR-469-5

FACTUAL RESUME

In support of Matthew Alan Rushing’s plea of guilty to the offense in Count One
of the Information, Rushing, the defendant, Robert L. Rogers, the defendant’s attorney,
and the United States of America (the government) stipulate and agree to the following:

ELEMENTS OF THE OFFENSE
To prove the offense alleged in Count One of the Information, charging a violation
of 18 U.S.C. §1001, that is, False Statement, the government must prove each of the
following elements beyond a reasonable doubt:!

First. That the defendant made a false statement regarding a matter within
the jurisdiction of a executive branch federal agency, the National
Highway Traffic Safety Administration (NHTSA), as charged in the
information;

Second. — That the defendant made the statement intentionally, knowing that it
was false;

Third. That the statement was material; and

Fourth That the defendant made the false statement for the purpose of
misleading the NHTSA, part of the executive branch which provided
the federal grant funds which were used to pay for defendant
Rushing’s overtime work.

 

! Fifth Circuit Pattern Jury Instruction 2.45 (5th Cir. 2015).

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STIPULATED FACTS

1. On or about May 6, 2019, defendant Matthew Alan Rushing did willfully
and knowingly make a materially false, fictitious, and fraudulent statement and
representation in a matter within the jurisdiction of the executive branch of the
Government of the United States, by signing an “Officer’s Daily Grant Activity Report,
FY 2018-19” which contained a false statement/report which listed false and fraudulent
traffic citations during the reporting period covered by this report. Rushing submitted
this report in order to collect overtime pay funded by federal grant funds from the
National Highway Traffic Safety Administration (NHTSA). Some of the citations listed
on this report were false because one or more of the citations listed on the report were
based on fictional events and fictitious persons.

2. During the period from October, 2018 through July, 2019, in order to
collect overtime pay from federal grant funds, all DPD officers were required to sign and
submit a document entitled “Officer’s Daily Grant Activity Report” (report). The
following statement appeared on each report, right below the signature line of each DPD
officer who signed the report: “I understand that this information is being submitted to
support a claim against a federally-funded grant program. False statements on this form
may be prosecutable under 18 U.S.C. 1001. The information on this form is true, correct,
and complete to the best of my knowledge and ability.” A false statement on this form
was a false statement within the jurisdiction the NHTSA, a federal agency. NHTSA
grant funds were administered by the Texas Department of Transportation and the Dallas

Police Department.

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3. During this period, Rushing wrote at least 38 false and fraudulent citations.
Rushing created false citations by submitting citations for persons and events that did not
exist. After Rushing concluded a traffic stop, he created a false citation by altering the
violator’s true identity (the order of their first, middle, or last name, their date of birth,
etc.) to create a false identity. Rushing submitted several false reports which included
one or more false citations. In his false reports, Rushing used a “fictitious person” as the
traffic offender when he wrote up one or more false citations. When Rushing submitted
false citations, arrest warrants were sometimes unlawfully issued for some of the false
citations. Rushing also submitted false citations to drivers once they had departed the
scene of the initial contact. These persons were often unaware that additional false and
fraudulent citations had been written in their name.

4. The defendant agrees that the defendant committed all the essential
elements of the offense. This factual resume is not intended to be a complete accounting
of all the facts and events related to the offense charged in this case. The limited purpose
of this statement of facts is to demonstrate that a factual basis exists to support the

defendant’s guilty plea to Count One of the Information.

--- NOTHING FURTHER ON THIS PAGE ---

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AGREED TO AND STIPULATED on this / b day of September, 2019.

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ERIN NEALY COX
UNITED-STATES ATTO Y

 

MATTHEW ALAN RUSHING
Defendant

  

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ROBERT L. ROG
Attorney for Defendant

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DAVID L. JARVIS

Assistant United States Afttorney
Texas State Bar No. 10585500
1100 Commerce Street, Third Floor
Dallas, Texas 75242

Tel: 214-659-8729

Fax: 214-659-8812

Email: david.jarvis@usdoj.gov
